










No. 04-00-00337-CR


Rodney NARVAEZ,


Appellant



v.



The STATE of Texas,


Appellee



From the 187th Judicial District Court, Bexar County, Texas


Trial Court No. 1998-CR-5161


Honorable Raymond Angelini, Judge Presiding



Opinion by:	Sarah B. Duncan, Justice


Sitting:	Tom Rickhoff, Justice

		Alma L. López, Justice

		Sarah B. Duncan, Justice


Delivered and Filed:	March 21, 2001


AFFIRMED


	Rodney Narvaez was convicted of intoxication assault and sentenced to community
supervision for ten years. Condition 11(I) of the terms of community supervision required Narvaez
to pay restitution to Wilford Hall Medical Center in the amount of $27,476.87. Narvaez appeals,
contending the trial court erred in ordering him to pay restitution to someone other than his victim,
John Moulin, and in failing to reduce the restitution ordered by the $20,000 paid by his insurance
company to Moulin. We disagree and affirm the trial court's judgment.

Factual and Procedural Background


	On January 12, 1998, at 2:42 a.m., an intoxicated Narvaez hit a disabled vehicle that was
being pushed by several pedestrians to the shoulder of eastbound Highway 90. The impact knocked
the pedestrians to the ground and their disabled vehicle came to rest on top of one of them, John
Moulin. After EMS was able to free Moulin, he was rushed Code-3 to Wilford Hall Medical Center
in critical condition. He had sustained a concussion, a hairline spinal fracture, and a broken ankle,
shoulder, and ribs. The injuries to Moulin's left ankle necessitated extensive surgery. The mandatory
blood specimen taken from Narvaez soon after the accident established he was driving with a blood
alcohol content of .22.

Standard of Review


	We review the trial court's restitution order under an abuse of discretion standard. Cartwright
v. State, 605 S.W.2d 287, 288-89 (Tex. Crim. App. 1980). An abuse of discretion occurs when the
trial court "acts in an arbitrary or unreasonable manner." Lemos v. State, 27 S.W.3d 42, 45 (Tex.
App.-San Antonio 2000, pet. ref'd) (citing Montgomery v. State, 810 S.W.2d 372, 380 (Tex. Crim.
App.1990)).

Discussion


	When an offense "results in bodily injury to a victim, the court may order the defendant to"
"pay an amount equal to the cost of necessary medical and related professional services and devices
relating to physical, psychiatric, and psychological care." Tex. Code Crim. Proc. Ann. art.
42.037(b)(2)(A) (Vernon Supp. 2000). Although "[t]he court may not order restitution for a loss for
which the victim has received or will receive compensation," it "may, in the interest of justice, order
restitution to any person who has compensated the victim for the loss to the extent the person paid
compensation." Id. art. 42.037(f)(1).

	Here, it is undisputed that, at the time of sentencing, Wilford Hall had a lien in the amount of
$27,476.87 against Moulin. It is also undisputed that this lien arose as a result of Moulin's post-assault treatment at Wilford Hall, and the lien was not reduced by the $20,000 received by Moulin
from Narvaez's insurance company. On the other hand, there is no evidence the $20,000 payment was
intended as full compensation for Moulin's injuries or as compensation for his medical bills. Under
these circumstances, we hold the trial court did not abuse its discretion in ordering Narvaez to pay
restitution to Wilford Hall in the amount of $27,476.87, representing the amount due for Moulin's
medical services and, in effect, advanced by Wilford Hall and the federal government to Moulin. See
id. We therefore affirm the trial court's judgment.


							Sarah B. Duncan, Justice

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